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SEARCH WARRANT RETURN (REV. 03/13)


                                                             RETURN                                        FILED            LODGED

 Case No.:                                                                                                Jun 29 2022
                                                                                                           CLERK U.S. DISTRICT COURT
                                                                                                              DISTRICT OF ARIZONA




 DATE WARRANT                         DATE AND TIME                        COPY OF WARRANT AND RECEIPT FOR
 RECEIVED                             WARRANT EXECUTED                     ITEMS LEFT WITH




 INVENTORY MADE IN THE PRESENCE OF



 INVENTORY OF PERSON OR PROPERTY TAKEN PURSUANT TO THE WARRANT




                                                       NOT EXECUTED
             This Warrant was Not Executed.
             (check this box if the warrant was never executed and leave the sections above blank.)


                                                       CERTIFICATION

   I declare under penalty of perjury that this inventory is correct and was returned to the designated judge.


    Date:




                                                                           Printed Name and Title
